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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,

                      Plaintiff,

        v.                                          Criminal Action No. 17-35-GMS

DALIAN WASHINGTON,

                      Defendant.



                                           ORDER

        Upon consideration of Defendant's Unopposed Motion for Continuance of Sentencing

Hearing, good cause having been show therefore;      ~


        IT IS HEREBY ORDERED on this           qt'       day   of_~~lf-----'~-...........--=-----' 2017,
that Defendant Washington's motion is hereby granted, and sentencing in this case is continued to

the   ~J"--1--/~__ day of {Zb,-1\.£<..'rj                         '2018, at     ;o: 00       ~/pm.
